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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                  Case No. 1:18-cr-401-EJL-002
                Plaintiff,
        vs.                                       GOVERNMENT'S AMENDED
                                                  SENTENCING MEMORANDUM
 STEVEN TODD THOMPSON,

                Defendant.


       The United States of America, by and through Bart M. Davis, United States Attorney,

and the undersigned Assistant United States Attorney for the District of Idaho, submits the

following amended memorandum setting forth the Government’s position at sentencing. The

Government recommends that the Court sentence the Defendant to a term of imprisonment

within the advisory guideline range followed by three years of supervised release.

                                       BACKGROUND

       Defendant pleaded guilty, pursuant to a plea agreement, to conspiracy to distribute

controlled substances as charged in count one of the Third Superseding Indictment. (ECF No.

275). The Third Superseding Indictment alleges the conspiracy occurred from approximately



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February 2017, until December 10, 2018. (ECF No. 194). Defendant admits that he entered into

an agreement with codefendant David Roberts to distribute methamphetamine. Id at p.3. The

parties agreed that the base offense level for the drug quantity, pursuant to U.S.S.G. § 2D1.1,

was 26 based upon 21 grams of actual methamphetamine found in Defendant’s residence on

December 10, 2018. Id. at p. 7.

       Defendant has provided written notice of his intent to seek a downward variance. The

Government opposes a downward variance and requests the Court sentence Defendant to a

sentence within the advisory guideline range. The Government provides the following additional

information for the Court’s consideration for the sole purpose of responding to Defendant’s

request for a downward variance.

      RESPONSE TO DEFENDANT’S REQUEST FOR DOWNWARD VARIANCE

       A. The Search of Defendant’s Residence.

       On September 28, 2017, probation officers and police officers searched Defendant’s

residence. Government’s Exhibit #3. At the time, Defendant was on felony probation for

possession of methamphetamine for the purpose of sale. ECF # 332-2; PSR ¶ 80. He tested

positive for methamphetamine and opiates. Government’s Exhibit #3. During a search of

Defendant’s residence, police found two digital scales, a tin measuring cup, and $4,500.

Government’s Exhibit # 3. Defendant was arrested and was later convicted of possessing

marijuana and the additional charges were dismissed. PSR ¶ 81. Defendant served 90 days in jail

for this conviction. PSR ¶ 81. While in jail, he made several recorded calls to Roberts. During

one call to Roberts on April 29, 2018, Defendant talked about how he wished he could serve his

jail on the weekends because it would get him out “there to paper.” Government’s Exhibit # 4,

18_4-29-18_1348 at 10:20–11:50.




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       B. Surveillance of Defendant.

       Defendant was released from jail in July 2018. Thereafter, investigators obtained a search

warrant that authorized them to receive location data for Roberts’s cell phone. On September 29,

2018, investigators conducted surveillance of Roberts as he returned from Nevada to Idaho.

Government’s Exhibit # 5. Investigators saw Roberts driving a rental car with a 2003 Mitsubishi

Galant, bearing Idaho license plate 2TZ7457 traveling in tandem with him. The vehicles were

seen traveling north on Highway 93 into Jackpot before they stopped at a casino. Later, both

vehicles continued to travel north, in tandem, towards Twin Falls, Idaho. Both vehicles turned

off Highway 93 onto a gravel road and traveled together to Twin Falls using back country roads.

Government’s Exhibit #5. The Galant was later found parked at Defendant’s residence at 280

Harrison Street in Twin Falls. 1

       Later, investigators obtained a search warrant that authorized them to receive historical

location data for Defendant’s cell phone. This location data from this date shows Defendant’s

phone traveled south to Ely, Nevada where it met with Robert’s cell phone at approximately

3:30am as Roberts traveled back from California. Government’s Exhibit #6. The two traveled, in

tandem, back to Twin Falls as described above.

       C. Defendant’s Intercepted Communications.

       On November 16, 2018, investigators received court authorization to intercept wire and

electronic communications occurring over Roberts’s cell phone. Investigators intercepted many

communications between Roberts and Defendant Thompson who was using telephone number



1
 At the time, investigators thought the driver of the Galant was Kyle Pherigo because the Galant
was registered to Cynthia Pherigo who is Defendant’s sister. Investigators now know it was
Defendant driving the Galant. Kyle Pherigo denied that he was driving the Galant. Roberts later
conceded Thompson was driving the Galant. The location information of Defendant’s phone
show that he was the driver of the Galant.


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208-297-9870. Defendant frequently communicated to Roberts that he had “paper” for him but

they did not overtly discuss drug transactions or any amounts. Defendant also frequently warned

Roberts about the presence of law enforcement surveillance. See Government’s Exhibit #7,

session #01240, (phone call where Defendant alerts Roberts to undercover police and also says

he has “some paper” for Roberts). On December 6, 2018, when Defendant told Roberts he had

paper for him, Robert replied that he needed it. Government’s Exhibit #8, session #02608. The

next day Roberts went to California to obtain 12 pounds of methamphetamine. As Robert

traveled back towards Idaho with the methamphetamine, Defendant warned Roberts about law

enforcement presence and asked Roberts, “are you alright?” Government’s Exhibit #9, session

03191. In that same call, Defendant asked, “do you need help?” and asked “are you going to

make it or what?” Id. Defendant then discussed driving down to Jackpot, Nevada to get a room.

Id. On December 10, 2018, as Roberts drove north into Jackpot traveling towards Idaho with 12

pounds of methamphetamine, Defendant, who was on the phone with Roberts, pulled out in front

of Roberts to lead him back into Twin Falls. Government’s Exhibits # 10 (session #03239) and

#11 (session #03244). Defendant asked Roberts if he wanted to take the country road back into

Twin Falls. Government’s Exhibit # 11. Defendant and Roberts were both stopped and arrested.

PSR ¶ 40.

       D. Methamphetamine found in Defendant’s residence.

       Later that same day, investigators searched Defendant’s residence at 280 Harrison Street

in Twin Falls, pursuant to a federal search warrant. PSR ¶ 41. Investigators found approximately

23 grams of methamphetamine and a digital scale. PSR ¶ 41.

       E. Roberts denied Defendant’s involvement.




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       When questioned by investigators Roberts admitted that he used rental cars to travel to

California and obtain methamphetamine because he thought law enforcement was investigating

him. Government’s Exhibit # 12. He admitted that he would travel down a gravel road south of

Twin Falls to avoid law enforcement detection. Id. He first denied that Defendant was with him

during the trip on September 29, 2018. Id. He eventually admitted Defendant traveled with him

down the gravel road but claimed Defendant was not involved at all and just happened to be

there. Id. At the time, Roberts did not know investigators had location information for

Defendant’s phone showing he traveled to meet Roberts near Ely, Nevada at 3:30am only to turn

around and immediately return to Idaho. Roberts told investigators that Defendant never assisted

him as a buffer car, did not sell drugs for Roberts, and was not involved in a conspiracy with

Roberts. Id.

       Defendant has pleaded guilty to conspiring with Roberts to distribute methamphetamine.

The evidence shows Defendant conspired with Roberts. The Court should not consider any

additional drug quantities other than those seized at Defendant’s residence. See United States v.

Culps, 300 F.3d 1069, 1076 (9th Cir. 2002) (if the district court approximates drug quantity

beyond what was seized, the approximation must be supported by sufficient indicia of reliability

and the court must err on the side of caution in its approximated drug quantity). Further, the

Government has agreed to a two-level reduction in the advisory guideline range because the

Defendant was a minor participant relative to others involved including Roberts.

       Defendant’s request for a downward variance is not warranted. Defendant was a minor

participant. However, his involvement spanned a lengthy period. His conduct involved acting as

a lookout and alerting Roberts to avoid law enforcement detection, assisting with transporting




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drugs by acting as a lead car, and assisting Roberts with selling small amounts of

methamphetamine.

       Defendant is a career offender with a lengthy criminal history. Whether or not the Court

finds Defendant is a career offender under U.S.S.G. § 4B1.1(b)(3), his prior convictions

demonstrate that he is—in reality—someone who has twice been convicted of serious crimes

involving drug dealing. This Court’s ruling whether his prior convictions qualify as a “controlled

substance offense” may involve a close comparison of the textual differences in the law but the

simple facts show that he continues to distribute drugs into the community. For these reasons, the

Court should deny Defendant’s request for a variance. The Court should sentence Defendant

within the advisory guideline range.

                                    OBJECTIONS TO PSR

        The Government has objected to the PSR because Defendant is a career offender and

because he obstructed the administration of justice. ECF #332. Defendant argues that the

Government’s objections are untimely because they were filed after the deadline set by the

Court. See ECF 333. However, those deadlines were reset by Defendant’s own motion. See ECF

296. Defendant moved the Court to continue the sentencing hearing and specifically requested,

“that the deadlines for filing of all pre-sentencing memoranda and materials be reset.” Id. The

Court granted Defendant’s motion. ECF #302. The Government even conferred with United

States Probation to confirm the new deadline for objections. Government’s Exhibit # 13. The

Government’s objections are timely and Defendant had ample time to respond.

       The Government intends to present evidence at the sentencing hearing. This Court should

sustain the Government’s objections.

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                                        LEGAL ANALYSIS

          The Ninth Circuit has set forth a basic framework that district courts should follow in

compliance with the Supreme Court's ruling in United States v. Booker, 543 U.S. 220 (2005):

          (1)    Courts are to begin all sentencing proceedings by correctly determining the
                 applicable sentencing guidelines range, precisely as they would have before
                 Booker.

          (2)    Courts should then consider the § 3553(a) factors to decide if they support the
                 sentence suggested by the parties. Courts may not presume that the guidelines
                 range is reasonable. Nor should the guidelines factors be given more or less
                 weight than any other. The guidelines are simply to be treated as one factor
                 among the § 3553(a) factors that are to be taken into account in arriving at an
                 appropriate sentence.

          (3)    If a court decides that a sentence outside the guidelines is warranted, then it must
                 consider the extent of the deviation and ensure that the justification is sufficiently
                 compelling to support the degree of the variance.

          (4)    Courts must explain the selected sentence sufficiently to permit meaningful
                 appellate review.

United States v. Carty, 520 F.3d 984, 991-92 (9th Cir. 2008).

                                 SENTENCING CALCULATION

          A.     Statutory Maximum and Minimum Sentence

          The maximum term of imprisonment for a violation of 21 U.S.C. § 841(a)(1), (b)(1)(C),

and 864, for conspiring to distribute methamphetamine is twenty years. There is a minimum

period of supervised release of three years, a maximum fine of $1,000,000 and a special

assessment of $100.

          B.     United States Sentencing Guidelines Calculation

          “As a matter of administration and to secure nationwide consistency, the Guidelines

should be the starting point and the initial benchmark.” Gall v. United States, 552 U.S. 38, 49

(2007).

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               1.      Offense Level Calculation

       The PSR calculated the Defendant’s total offense level as 23. PSR ¶ 59. That calculation

includes an increase for obstruction, which the Government agrees with and Defendant opposes.

The Government also seeks objected to the offense level calculation because the Defendant is a

career offender. If the Court sustains the objection, the offense level is 29 if the Court grants

Defendant acceptance of responsibility.

               2.      Criminal History Calculation

       The PSR calculated the Defendant’s criminal history score as 11 and criminal history

category of V. PSR ¶ 84. Neither party objected to the criminal history calculation. However, if

the Court finds Defendant is a career offender than his criminal history category is VI, pursuant

to U.S.S.G. § 4B1.1(b)(3).

               3.      Advisory Guideline Range

       If the Court finds Defendant is a career offender than his advisory guideline range is 151

to 188 months. If the Court finds he is not a career offender but he obstructed justice than his

advisory guideline range is 84 to 105 months if he is entitled to acceptance of responsibility. If

the Court overrules both the Government’s objections, the advisory guideline range is 70 to 87

months.

                                 IMPOSITION OF SENTENCE

       A.      Imposition of a Sentence under 18 U.S.C. § 3553

               1.      18 U.S.C. § 3553(a) factors

                       a.      The nature and circumstances of the offense

       Defendant conspired with Roberts to distribute methamphetamine. Defendant’s conduct

was not a one-time lapse of judgment but instead occurred over a lengthy period. His




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involvement included alerting Roberts to the presence of law enforcement so he could avoid

detection.

       Defendant’s minor role was already taken into account in the advisory guideline range.

Further, many other codefendants and coconspirators received the minor role reduction or a

greater reduction. Co-defendants Echo Dalos and Amanda Smith received the same two-level

minor role reduction, while Crystal Cox received a four-level minimal role reduction.

       Even after Defendant was caught and arrested, his criminal thinking continued. Whether

or not the conduct amounts to obstruction of justice, Defendant solicited several individuals to

write untrue letters stating that various cooperating witnesses were lying about Defendant’s

involvement in the conspiracy. After Defendant entered his guilty plea, the Government learned

from two of the individuals that Defendant asked them to lie about the cooperating witnesses.

Defendant also sent other letters himself in an attempt to influence witnesses against him. See

ECF #332.

                      b.      The history and characteristics of the defendant

       The Defendant has a lengthy criminal history as reflected in the PSR. Defendant has

approximately 23 prior convictions. Six of those are felony convictions. He violated probation

and parole in every case. PSR ¶¶ 72, 73, 76, 77, 78. Indeed, he was still on felony probation

when he committed this crime. PSR ¶¶ 80, 83. He was incarcerated with the Idaho Department of

Correction from 1998 to 2005, and again from 2008 (almost continuously) through 2015.

       Most concerning, Defendant has two prior convictions of the same nature as the instant

offense. He was convicted of delivery of a controlled substance, in violation of Idaho Code § 37-

2732(a). PSR ¶ 76. After serving over seven years in prison and while on parole for that serious

offense, Defendant committed a similar felony offense in 2014. PSR ¶ 80 After he was convicted

for possessing methamphetamine for the purpose of sale in Nevada, he was placed on felony


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supervision again. PSR ¶ 80. He was still on probation for his second drug conviction when he

engaged in the drug conspiracy in this case. Defendant has proven, through his conduct, that he

will not follow conditions of release, he will disregard the law and distribute drugs into the

community.

                        c.     The need for the sentence imposed to reflect the seriousness of the
                               offense, to promote respect for the law, and to provide just
                               punishment.

          The Defendant’s conduct was very serious. A within guideline sentence would reflect the

seriousness of his actions and provide for just punishment.

                        d.     The need for the sentence imposed to afford adequate deterrence
                               and to protect the public.

          A within guidelines sentence would deter both the Defendant and others and would

protect the public from the risk that he presents by removing him from society for a considerable

period.

                        e.     The need to avoid unwarranted sentence disparities

          A within guidelines sentence would avoid unwarranted sentence disparities. Defendant is

not similarly situated to most of the codefendants and coconspirators.

                 2.     Application of the Guidelines in Imposing a Sentence under 18 U.S.C.
                        § 3553(b)

          The Government’s within-guidelines recommendation is based in part on the fact that

such a sentence properly reflects the accumulated wisdom and expertise of the Sentencing

Commission, and serves the vital goal of uniformity and fairness in sentencing. The guidelines,

formerly mandatory, now serve as one factor among several that courts must consider in

determining an appropriate sentence. Kimbrough v. United States, 552 U.S. 85, 90 (2007).

Nonetheless, “the Guidelines Commission fills an important institutional role: It has the capacity

courts lack to base its determinations on empirical data and national experience, guided by a


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professional staff with appropriate expertise.” Id. at 108-09 (internal quotation marks omitted).

Thus, “the Guidelines Commission’s recommendation of a sentencing range will ‘reflect a rough

approximation of sentences that might achieve § 3553(a)’s objectives.’” Id. (quoting Rita v.

United States, 551 U.S. 338, 350 (2007)).

       The guidelines are the sole means available for assuring some measure of uniformity in

sentencing, thereby fulfilling a key congressional goal in adopting the Sentencing Reform Act of

1984. Reference to the guidelines, while carefully considering the § 3553(a) factors, is the only

available means of preventing the disfavored result of basing sentences on the luck of the draw in

judicial assignments. Therefore, “district courts must begin their analysis with the Guidelines

and remain cognizant of them throughout the sentencing process.” Gall, 552 U.S. at 50 n.6.

       The guidelines deserve significant respect. The Government recognizes that the

guidelines are entirely advisory, and that a district court has discretion to vary from an advisory

range, subject only to deferential appellate review for reasonableness. A district court, however,

must consider the guidelines range, see § 3553(a)(4), and is usually well-advised to follow the

Sentencing Commission’s advice in order to assure fair, proportionate, and uniform sentencing

of criminal offenders. Moreover, there are no other § 3553(a) factors in this case which mitigate

against imposition of a sentence within that range; to the contrary, the § 3553(a) factors on

balance support the imposition of the recommended guidelines sentence. Accordingly, the

Government recommends a within-guideline sentence.

                                         CONCLUSION

       Application of 18 U.S.C. § 3553 supports a sentence within the guideline range. The

Government submits that such a sentence is sufficient, but not greater than necessary, to




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accomplish the goals of sentencing, and that a lesser sentence is not supported by application of

the 18 U.S.C. § 3553(a) factors.

       The Government moves the Court for authorization to file this memorandum under seal

because it details cooperation by several cooperating codefendants and coconspirators and also

because it contains personal medical information of the Defendant.

       Respectfully submitted this 18th day of June, 2020.


                                                  BART M. DAVIS
                                                  UNITED STATES ATTORNEY
                                                  By:

                                                 /s/ Christopher S. Atwood
                                                 _______________________________________
                                                  CHRISTOPHER S. ATWOOD
                                                  Assistant United States Attorney



                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 18, 2020, the foregoing GOVERNMENT'S

SENTENCING MEMORANDUM was electronically filed with the Clerk of the Court using

the CM/ECF system, and that a copy was served on the following parties or counsel by:

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                                                          /s/ Christopher S. Atwood




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